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                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA
                               PHILADELPHIA DIVISION

 In Re:                                             Case No. 20-10390-amc

 Emilienne S. Cadet                                 Chapter 13

 Debtor.                                            Judge Ashely M. Chan

                                  CERTIFICATE OF SERVICE

I certify that on January 7, 2021, a copy of the foregoing Notice of Mortgage Payment Change
was filed electronically. Notice of this filing will be sent to the following party/parties through
the Court’s ECF System. Party/Parties may access this filing through the Court’s system:

          Georgette Miller, Debtor’s Counsel
          mlee@margolisedelstein.com

          William C. Miller, Esq., Chapter 13 Trustee
          ecfemails@ph13trustee.com

          Office of the United States Trustee
          ustpregion03.ph.ecf@usdoj.gov

I further certify that on January 7, 2021, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          Emilienne S. Cadet, Debtor
          1209 Knorr Street
          Philadelphia, PA 19111

 Dated: January 7, 2021                             /s/ D. Anthony Sottile
                                                    D. Anthony Sottile
                                                    Authorized Agent for Creditor
                                                    Sottile & Barile, LLC
                                                    394 Wards Corner Road, Suite 180
                                                    Loveland, OH 45140
                                                    Phone: 513.444.4100
                                                    Email: bankruptcy@sottileandbarile.com
